        Case 2:17-cv-01475-TMP Document 28 Filed 10/29/18 Page 1 of 16                      FILED
                                                                                   2018 Oct-29 AM 08:17
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

MARIA CRISTINA COLIN                    )
GOMEZ,                                  )
                                        )
             Plaintiff,                 )
                                        )
v.                                      )             Case No. 2:17-cv-01475-TMP
                                        )
JOSE J. LOPEZ, et al.,                  )
                                        )
             Defendants.                )




                   MEMORANDUM OPINION and ORDER

       This matter is before the court on Plaintiff’s Motion to Vacate Order and

Reinstate Case, filed on September 12, 2018 (doc. 18), and the Motion to

Reinstate, Motion to Intervene, and Motion to Enforce Attorney’s Lien (doc. 20),

filed on October 3, 2018 by Steven Mezrano and the Mezrano Law Firm P.C. A

hearing was held via telephone on October 3, 2018, and the parties were instructed

to brief the issue of the court’s continuing jurisdiction to resolve the attorney’s lien

dispute. The matter has been fully briefed. The original parties have consented to

the dispositive jurisdiction by a United States Magistrate Judge pursuant to 28

U.S.C. § 636(c) (doc. 9), but the putative intervenors have not.
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I. Background

      This lawsuit was removed to this court on August 30, 2017, from the Circuit

Court of Jefferson County, Alabama, on the basis of diversity of citizen

jurisdiction. (Doc. 1). The action was originally filed in the state court in a

complaint signed by both the plaintiff’s current attorney, Mary Amari Bruce, and

putative intervenor, Steven Mezrano. It alleged a claim arising out of a vehicle

collision on August 17, 2015. (Doc. 1-2, p. 6). At the time, both lawyers were

associated with the Mezrano Law Firm, P.C., the other putative intervenor. The

plaintiff signed an undated “Power of Attorney and Contingent Fee Agreement”

with the Mezrano Law Firm, P.C. (doc. 20-1), agreeing to pay the firm a fifty

percent (50%) contingency fee if suit were filed with respect to the vehicle

accident.

      Following the removal to this court, the parties reached a settlement of the

case on July 9, 2018, filing a Notice of Settlement with the court on July 11, 2018.

Based on the Notice, the court dismissed the instant case without prejudice on

July 31, 2018, reserving to the parties the right to seek reinstatement of the case to

the active docket within forty-five (45) days in the event a problem developed in

completing the settlement. The plaintiff filed her timely motion to vacate the

dismissal and reinstate the case to the active docket on September 12, 2018.

(Doc. 18). The defendants did not oppose the motion, and on October 3, Steven


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Mezrano and the Mezrano Law Firm, P.C., filed their motion to intervene and

enforce an attorney’s lien against the proceeds of the settlement. (Doc. 20). That

motion alleged that, just prior to the settlement of the case, on June 22, 2018,

attorney Bruce left her employment with the Mezrano Law Firm, P.C. On June 29,

she presented a letter to the plaintiff, notifying her of Ms. Bruce’s separation from

the law firm and advising the plaintiff that it was her choice whether to continue to

be represented by Ms. Bruce, or by the Mezrano Law Firm, P.C., or by an entirely

different attorney. The plaintiff signed the letter on June 29 to indicate her choice

to continue to be represented by Ms. Bruce.         In response, Mezrano and the

Mezrano Law Firm, P.C. filed a statement of an attorney’s lien in the Office of the

Probate Judge of Jefferson County, Alabama, on August 14, claiming a lien for

expenses and a quantum meruit portion of the fee earned in the settlement of the

plaintiff’s case. The statement of lien asserts the Ms. Bruce was an employee of

the Mezrano Law Firm, P.C., until she left on June 22, 2018. In a telephone

hearing on October 3, 2018, counsel for the original defendants confirmed that he

is still in possession of the proposed settlement proceeds, but has not delivered

them to Ms. Bruce because of the outstanding attorney’s lien.

II. Jurisdiction

      The immediate question posed by the pending motions is whether the court

has subject-matter jurisdiction to resolve the attorney’s lien controversy.      No


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purpose would be served reopening the case if the court lacks jurisdiction to

resolve the dispute prompting its reopening. Likewise, the court need not grant the

motion to intervene if there is no jurisdiction to resolve the question presented by

it.

       The original lawsuit was removed to this court on the basis of diversity

jurisdiction, alleging that the plaintiff and the two named defendants were citizens

of different states and the amount in controversy was sufficient to meet the

jurisdictional minimum of $75,000.00.1 See 28 U.S.C. § 1332. That controversy,

however, now has been settled, as everyone agrees. The issue is whether the

dispute over the distribution of the plaintiff’s attorney’s fees is within the court’s

jurisdiction. The court must determine whether this dispute is part of the original

“case or controversy” that was removed to the court on diversity grounds. In

Kokkonen v. Guardian Life Ins. Of Am., 511 U.S. 375, 114 S. Ct. 1673, 128 L. Ed.

2d (1994), the Supreme Court reiterated that federal courts are courts of limited

jurisdiction.    In that case, where a party sought enforcement a settlement

agreement on which the original lawsuit was dismissed by a Rule 41(a)(1)(ii)

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    The motions before the court reveal that the vehicle-accident case has been settled on an
agreement by the defendants to pay the plaintiff a total of $45,000.00, which clearly is less than
the jurisdictional amount of $75,000.00. This does not undermine the court’s diversity
jurisdiction, however, which attached at the time of removal. Post-removal events ordinarily do
not deprive a court of jurisdiction after it attaches. Poore v. Am.-Amicable Life Ins. Co., 218
F.3d 1287, 1291 (11th Cir. 2000), overruled in part on other grounds by Alvarez v. Uniroyal Tire
Co., 508 F.3d 639, 641 (11th Cir. 2007); Ray v. GPR Hosp. LLC, No. 1:14-CV-1309-CC, 2015
WL 4717400, at *3 (N.D. Ga. Aug. 7, 2015).


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stipulation, the Court noted, “Enforcement of the settlement agreement, however,

whether through award of damages or decree of specific performance, is more than

just a continuation or renewal of the dismissed suit, and hence requires its own

basis for jurisdiction.” Id. at 378, 114 S. Ct. at 1675-76.

       Plaintiff’s current lawyer, Ms. Bruce, alleges that this court has

supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a). She cites two cases for

authority in the Eleventh Circuit, Broughten v. Voss, 634 F.2d 880 (5th Cir.

1981), 2 and Moreno Farms, Inc. v. Tomato Thyme Corp., 490 F. App’x 187 (11th

Cir. 2012) (citing Broughten), for the proposition that the district court has the

discretion to exercise “ancillary jurisdiction”3 to resolve fee disputes between


2
  In Bonner v. City of Prichard, 661 F.2d 1206 (11th Cir. 1981) (en banc), the Eleventh Circuit
adopted all of the decisions of the former Fifth Circuit issued prior to October 1, 1981, as
binding precedent.
3
   The plaintiff’s brief actually refers to supplemental jurisdiction under 28 U.S.C. § 1367. The
precise contours of the relationship between ancillary jurisdiction and supplemental jurisdiction
are somewhat murky. Some courts have stated that ancillary jurisdiction as it existed before the
enactment of § 1367 in 1990 still exists within the concept of supplemental jurisdiction. See
Exxon Mobil Corp. v. Allapattah Servs., Inc., 545 U.S. 546, 559, 125 S. Ct. 2611, 2621, 162 L.
Ed. 2d 502 (2005) (“Nothing in § 1367 indicates a congressional intent to recognize, preserve, or
create some meaningful, substantive distinction between the jurisdictional categories we have
historically labeled pendent and ancillary”); Palmer v. Hosp. Auth. of Randolph Cnty., 22 F.3d
1559, 1563 n. 3 (11th Cir.1994) (“Formerly known as pendent and ancillary jurisdiction, such
grounds for the exercise of federal subject matter jurisdiction have now been codified in 28
U.S.C. § 1367.”); Womack v. Dolgencorp., Inc., 957 F. Supp. 2d 1350, 1352 (N.D. Ala. 2013);
Hogben v. Wyndham Int'l, Inc., No. 05-20944-CIV-TORRES, 2007 WL 2225970, at *5 (S.D.
Fla. Aug. 1, 2007). While supplemental jurisdiction includes some concepts of ancillary
jurisdiction, ancillary jurisdiction also seems to exist beyond the strict limits of § 1367. As noted
in 13 Wright, Miller, Cooper & Freer, FEDERAL PRACTICE AND PROCEDURE, § 1323.2, “It seems
clear that § 1367 does not apply to this form of [ancillary] jurisdiction,” and is governed by case
law rather than the supplemental jurisdiction statute. For this reason, § 1367(b) does not prohibit
the exercise of ancillary jurisdiction, even when non-diverse parties are implicated in the
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parties and lawyers in the case. But these cases must be understood in the light

cast by the Supreme Court’s discussion of ancillary jurisdiction in Kokkonen.

      In Kokkonen, the Supreme Court defined two circumstances under which a

court may exercise ancillary jurisdiction:


      Generally speaking, we have asserted ancillary jurisdiction (in the
      very broad sense in which that term is sometimes used) for two
      separate, though sometimes related, purposes: (1) to permit
      disposition by a single court of claims that are, in varying respects and
      degrees, factually interdependent, see, e.g., Baker v. Gold Seal
      Liquors, Inc., 417 U.S. 467, 469, n. 1, 94 S. Ct. 2504, 2506, n. 1, 41
      L. Ed. 2d 243 (1974); Moore v. New York Cotton Exchange, 270 U.S.
      593, 610, 46 S. Ct. 367, 371, 70 L. Ed. 750 (1926); and (2) to enable a
      court to function successfully, that is, to manage its proceedings,
      vindicate its authority, and effectuate its decrees, see, e.g., Chambers
      v. NASCO, Inc., 501 U.S. 32, 111 S. Ct. 2123, 115 L. Ed. 2d 27
      (1991) (power to compel payment of opposing party's attorney's fees
      as sanction for misconduct); United States v. Hudson, 11 U.S. (7
      Cranch) 32, 34, 3 L. Ed. 259 (1812) (contempt power to maintain
      order during proceedings). See generally 13 C. Wright, A. Miller, &
      E. Cooper, FEDERAL PRACTICE AND PROCEDURE § 3523 (1984); cf. 28
      U.S.C. § 1367 (1988 ed., Supp. IV).


Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 379–80, 114 S. Ct.

1673, 1676, 128 L. Ed. 2d 391 (1994). The Court went on to reject the notion that

enforcement of a settlement agreement is a claim that is interdependent with the

merits of the underlying lawsuit. Id. at 380 (“[T]he facts underlying respondent’s



ancillary dispute. See National City Mortgage Co. v.Stephens, 647 F.2d 78 (3rd Cir. 2010)
(holding the common doctrine of ancillary jurisdiction survived codification of 28 U.S.C.
§ 1367); Reyes-Fuentes v. Shannon Produce Farm, Inc., 2012 WL 1557368 (S.D.Ga. 2012).
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dismissed claim for breach of agency agreement and those underlying its claim for

breach of settlement agreement have nothing to do with each other”). The Court

also rejected the argument that enforcement of a settlement agreement (where the

court has not expressly reserved jurisdiction to do so) is necessary for a court to

protect its proceedings and vindicate its authority. The dismissal of the original

lawsuit was “in no way flouted or imperiled by the alleged breach of the settlement

agreement.” Id. at 380-381. Although dismissal of the underlying lawsuit was part

of the contractual consideration for the settlement agreement, the breach did

nothing more than create a new controversy for breach of contract that had to be

resolved in another action.

       Notwithstanding the limitations in Kokkonen or the putative intervenors’

argument that the cases cited by the plaintiff are factually and legally

distinguishable, the court finds that it possesses supplemental jurisdiction to

address the merits of the fee dispute. First, Kokkonen recognizes a proper use of

ancillary jurisdiction is to resolve interrelated disputes in a way that allows the

court to successfully manage its docket. 4 That is the case here. Despite the



4
        The court notes also that the instant case is distinguishable from Kokkonen in another
way. In Kokkonen the parties had filed a Rule 41 stipulation of dismissal, causing the court to
dismiss the case without reserving any jurisdiction to resolve later-developing controversies. In
the instant case, the parties have not file a stipulation of dismissal, and the court’s preliminary
dismissal was without prejudice to either party seeking reinstatement of the case within forty-
five days. Effectively, the court retained jurisdiction for a period of forty-five days precisely to
give the parties that time to bring back to the court any controversies that may develop. Thus,
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putative intervenors’ contention that this is not a dispute that affects the client, but

is only a dispute between lawyers, the basis of the attorney’s lien filed by Mezrano

and the Mezrano Law Firm P.C. is the contingent fee contract signed by the client.

The lien is enforceable against the settlement proceeds as an undivided corpus, as

proceeds have not been distributed and are still in the possession of defense

counsel. There has been no division of the funds into separate parts, differentiating

between those held by the client apart from those paid to a lawyer. Thus, the lien

attaches to the entire res of the settlement proceeds, directly implicating the

interests of the original plaintiff and the original defendant, and thus potentially

impacting the court’s ability to manage the controversy before it.

       For purposes of analysis, this case is properly viewed as one in which the

client has terminated the representation of Mezrano and the Mezrano Law Firm as

her counsel. There is no dispute that, until shortly before the settlement of the

case, the plaintiff was represented by Ms. Bruce and the putative intervenors,

Mezrano and Mezrano Law Firm P.C. On June 29, 2018, the plaintiff essentially

exercised her option to terminate representation of her by Mezrano and the

Mezrano Law Firm when she affirmatively elected to continue to be represented by

Ms. Bruce alone. In such instances, the courts have exercised ancillary jurisdiction

to “protect its officers” from being deprived of an earned fee. Broughten v. Voss,

unlike Kokkonen, this court reserved its jurisdiction and did not relinquish it prior to the filing of
the motion to reinstate. The court still exercises its diversity of citizenship jurisdiction.
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634 F.2d 880, 882 (5th Cir. 1981), citing National Equipment Rental, Ltd. v.

Mercury Typesetting Co., 323 F.2d 784, 786 n.1 (2d Cir. 1963). In dicta, the court

of appeals observed in Broughten, the following:


      It is true that there is a long tradition of sustaining jurisdiction to
      determine fees due an attorney dismissed by a client in a pending
      action. “When its intervention is asked for the substitution of an
      attorney, the court will hold the client to fair dealing, and will refuse
      its assistance to any attempt to take an unfair advantage of one of its
      officers. In this behalf courts have frequently and usually required the
      client to discharge the attorney's claim for services in the suit as a
      condition of substitution.” Wilkinson v. Tilden, 14 F. 778, 780 (2d
      Cir. 1883).

            Admittedly, where an attorney is employed ... and the
            clients desire to terminate the relations, the proper
            practice is to set a motion for substitution of counsel
            down for a hearing, notify the attorney of record of the
            motion, ascertain all that is due and owing him by reason
            of his services and expenses, and provide for the payment
            of his compensation, as a condition precedent to the
            allowance of the order of substitution.

      John Griffiths & Sons Co. v. United States, 72 F.2d 466, 468 (7th Cir.
      1934). See also Woodbury v. Andrew Jergens Co., 69 F.2d 49, 50 (2d
      Cir. 1934).

            The law seems well settled that a federal district court
            may condition the substitution of attorneys in litigation
            pending before it upon the client’s either paying the
            attorney or posting security for the attorney’s reasonable
            fees and disbursements, as these may be determined.
            This power resides in the federal court as ancillary to its
            conduct of the litigation.

      National Equipment Rental, Ltd. v. Mercury Typesetting Co., 323
      F.2d 784, 786 (2d Cir. 1963) (citations omitted). See also State of
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      Iowa v. Union Asphalt & Roadoils, Inc., 409 F.2d 1239, 1242-1244
      (8th Cir. 1969); Doggett v. Deauville Corp., 148 F.2d 881, 883 (5th
      Cir. 1945).

      The basis for exercise of this ancillary jurisdiction is the responsibility
      of the court to protect its officers, see National Equipment Rental
      supra at 786 n.1, and the power of the court “to do full and complete
      justice.” Union Asphalt supra at 1244.



Broughten v. Voss, 634 F.2d 880, 882 (5th Cir. 1981). Because Ms. Bruce also

represented the plaintiff, the plaintiff’s termination of representation by Mezrano

and the Mezrano Law Firm P.C. did not require a substitution of counsel, upon

which the court could condition resolving the fee dispute with the putative

intervenors. Rather, in this circumstance, the court may condition the payment of

the settlement proceeds and the dismissal of the case upon that resolution.

      Another case that is arguably more factually analogous is Sweeney v.

Athens Reg'l Medical Center, 917 F.2d 1560 (11th Cir. 1990). In that case, a fee

dispute arose when an attorney representing a plaintiff left his firm, taking the

plaintiff’s case with him with the permission of the client. When the case settled,

the settlement proceeds were deposited into an escrow account and the plaintiff

filed a motion asking the court to resolve the fee dispute between her and counsel’s

former firm, and to allocate the settlement proceeds among the plaintiff and the

various lawyers claiming a fee them. Likewise, the former firm filed a motion in

the district court asking for a portion of the proceeds as its fee for representing the
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plaintiff prior to the stage at which one of its lawyers withdrew from the firm and

continued representing the plaintiff. While arguing that the court had ancillary

jurisdiction to resolve her motion, the plaintiff contended that the former firm’s

motion was nothing more than a mere “permissive intervention,” which cannot be

supported by ancillary jurisdiction.

      The court of appeals disagreed, holding that ancillary jurisdiction supported

the former firm’s intervention as it was an intervention as of right under Fed. R.

Civ. P. 24(a), based on the prior fee agreement with the plaintiff. The court

explained:


      Ancillary jurisdiction allows the court to hear claims that bear a
      “‘logical relationship to the aggregate core of operative facts which
      constitutes the main claim over which the court has an independent
      basis of federal jurisdiction.’” Id. (quoting Revere Copper & Brass,
      Inc. v. Aetna Casualty & Sur. Co., 426 F.2d 709, 714 (5th Cir. 1970)).
      Such a nexus would allow claims of intervenors of right, but not those
      of permissive intervenors to be heard by the court.                 Id.
      Under Fed. R. Civ. P. 24(a) an intervenor of right is one who claims
      an interest in the disputed property or transaction when the dispute
      puts at risk the intervenor’s ability to protect that interest.

      In the instant case, [plaintiff’s] motion to allocate the settlement funds
      and to order partial forfeiture of the attorneys’ fees required the court
      to construe the April 22, 1988 fee agreement to which [the former
      firm] was a party. No other party in the dispute had cause to represent
      and protect [the former firm’s] interest in that agreement. See
      Fed. R. Civ. P. 24(a)(2). Consequently, [the former firm] is an
      intervenor of right whose presence ancillary jurisdiction can support.




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Sweeney v. Athens Reg'l Medical Center, 917 F.2d 1560, 1565–66 (11th Cir.

1990).

      The similarity of the instant case is apparent. The plaintiff executed a

contingent fee agreement with the putative intervenors. When Ms. Bruce separated

from the Mezrano Law Firm, the plaintiff chose to continue to be represented by

her. The attorney’s lien filed by the putative intervenors is based on their rights in

the contingent fee contract, and there is no one present in the case who can

adequately represent the interests of Mezrano and the Mezrano Law Firm.

Accordingly, it appears that they are intervenors of right “whose presence ancillary

jurisdiction can support.” Id. at 1566.

      Admittedly, Broughten and Sweeney predate the Supreme Court’s decision

in Kokkonen. Even so, it has been cited by the Eleventh Circuit in at least one

unpublished opinion decided after Kokkonen, in which that panel never suggested

that it had been abrogated or limited by Kokkonen. In Moreno Farms, Inc. v.

Tomato Thyme Corp., 490 F. App'x 187 (11th Cir. 2012), citing Broughten, the

court noted simply, “The existence of an attorney’s lien against a party’s recovery

in a lawsuit is part of the same case or controversy as the underlying lawsuit.” Id.

at 188. Likewise, in Lewis v. Haskell Slaughter Young & Rediker, LLC, 582 F.

App'x 810 (11th Cir. 2014), the court affirmed the district court’s award of an

attorney’s fee to an attorney who withdrew for good cause from the representation


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of the plaintiff, even after the acceptance of an offer of judgment. Despite a

vigorous dissent contending that the district court did not have ancillary

jurisdiction, id. at 814-15, the majority seems to have assumed without discussion

that ancillary jurisdiction existed to resolve the attorney’s lien against the

plaintiff’s consent judgment, consistent with the rationales in Broughten and

Sweeney, even though neither case was cited by the majority.

      Finally the court observes that several district courts in the Eleventh Circuit

have applied the dicta in Broughten to resolve fee disputes between plaintiffs and

attorneys. As one district court has said:


      One well recognized application of this narrow doctrine [of ancillary
      jurisdiction] is the resolution of disputes between a party to a federal
      lawsuit and that party’s attorneys over the proper amount of fees due
      the attorneys for work performed in the lawsuit. See, e.g., Gottlieb v.
      GC Financial Corp., 97 F.Supp. 2d 1310 (S.D.Fla. 1999) and Zaklama
      v. Mount Sinai Medical Center, 906 F.2d 650 (11th Cir. 1990) (both
      adjudicating post-judgment attorneys’ fees disputes under Florida law
      charging liens); see also Rivera-Domenech v. Calvesbert Law Offices
      PSC, 402 F.3d 246, 250 (1st Cir. 2005) (“Courts have rested the
      exercise of jurisdiction over [attorney-client] fee disputes related to
      proceedings before them on the doctrine of ancillary jurisdiction.”);
      Garcia v. Teitler, 443 F.3d 202, 207-09 (2nd Cir. 2006) (federal courts
      have ancillary jurisdiction to address attorney fee disputes in ongoing
      criminal cases); Garrick v. Weaver, 888 F.2d 687, 690 (10th Cir.
      1989) (quoting Jenkins, 670 F.2d at 918: “It is well established that
      ‘[d]etermining the legal fees a party to a lawsuit properly before the
      court owes its attorney, with respect to the work done in the suit being
      litigated, easily fits the concept of ancillary jurisdiction.’”); Foster,
      771 F.Supp. at 1120 (“Courts have exercised ancillary jurisdiction
      over disputes between attorneys and clients over the proper amount of


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       attorneys’ fees due to the attorneys for work performed in the
       underlying litigation.”).

       In the context of attorney fee disputes, the exercise of ancillary
       jurisdiction is particularly appropriate because courts have inherent
       jurisdiction to supervise the bar and to insure compliance with the
       reasonableness standard set forth in the attorneys’ rules of ethics and
       professional responsibility. E.g., Garcia, 443 F.3d at 207; Rosquist v.
       Soo Line R.R., 692 F.2d 1107, 1111 (7th Cir. 1982); In re
       Michaelson, 511 F.2d 882, 888 (9th Cir. 1975); Broughton v. Voss,
       634 F.2d 880 (5th Cir. 1981) (“The basis for exercise of this ancillary
       jurisdiction is the responsibility of the court to protect its officers ...
       and the power of the court ‘to do full and complete justice.’”) (internal
       citations omitted).


Hogben v. Wyndham Int'l, Inc., No. 05-20944-CIV-TORRES, 2007 WL 2225970,

at *4–5 (S.D. Fla. Aug. 1, 2007); see also American Fed'n of State, Cty., & Mun.

Employees (AFSCME) Council 79 v. Scott, 949 F. Supp. 2d 1239, 1243 (S.D. Fla.

2013) (“[A]ncillary jurisdiction doctrine is often utilized to adjudicate the

resolution of disputes between a party to a federal lawsuit and that party’s

attorneys over the proper amount of fees due to the attorneys for work performed

in the lawsuit”); Montpellier Farm, Ltd v. Crane Environmental, Inc., No. 07-

22815-CIV, 2009 WL 722238, at *3 (S.D. Fla. Mar. 18, 2009); Womack v.

Dolgencorp., Inc., 957 F. Supp. 2d 1350, 1353 (N.D. Ala. 2013) (“The Eleventh

Circuit recognizes supplemental jurisdiction over fee disputes between attorneys

and clients.” (italics in original)).




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       It is clear, therefore, that notwithstanding the Supreme Court’s discussion in

Kokkonen, both the Eleventh Circuit and district courts within the circuit continue

to use ancillary jurisdiction to resolve fee disputes between attorney’s and clients

in ongoing litigation in which the court has an independent jurisdictional ground.

Although the putative intervenors attempt to frame the instant dispute as being

between lawyers, it fairly must be understood as a fee dispute between the plaintiff

and the intervenors, arising from her dismissal of them as her lawyers in favor of

Ms. Bruce. Their claim to a fee rests on the contingent fee contract between them

and the plaintiff. Thus, the instant fee dispute comes within the court’s ancillary

jurisdiction, given the court’s original diversity jurisdiction over the underlying tort

action.

III.   Conclusion

       Accordingly, the plaintiff’s motion to vacate the prior dismissal without

prejudice of this case and to reinstate it to the court’s active docket (doc. 18) is

GRANTED. Further, because Mezrano and the Mezrano Law Firm, P.C., have a

contingent fee contract with the plaintiff, giving them a colorable claim to a fee

from the settlement proceeds, they are intervenors of right. Accordingly, their

motion to intervene in this action is GRANTED.

       A conference with all counsel in this matter is hereby SET for Friday,

November 2, 2018, at 11:00 a.m., in the chambers of the undersigned at the Hugo


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L. Black U.S. Courthouse, Birmingham, Alabama, to discuss further proceedings

in the case.

      DONE and ORDERED on this 26th day of October, 2018.




                                   _______________________________
                                   T. MICHAEL PUTNAM
                                   UNITED STATES MAGISTRATE JUDGE




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